               Case 22-11068-KBO               Doc 27901         Filed 11/12/24         Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


---------------------------------------------------------- x
                                                           : Chapter 11
In re:                                                     :
                                                           : Case No. 22-11068 (JTD)
FTX TRADING LTD., et al., 1                                :
                                                           : (Jointly Administered)
                    Debtors.                               :
                                                           : Re. D.I. 27755 & 27899
---------------------------------------------------------- x

           NOTICE OF FILING OF REDACTED VERSION OF MOTION OF
         THE FOREIGN REPRESENTATIVES OF THREE ARROWS CAPITAL,
         LTD. (IN LIQUIDATION) FOR LEAVE TO AMEND PROOF OF CLAIM

       PLEASE TAKE NOTICE that, on November 6, 2024, Russell Crumpler and Christopher
Farmer, in their joint capacities as the duly authorized joint liquidators appointed in the British
Virgin Islands’ liquidation of Three Arrows Capital, Ltd. (in liquidation) (the “3AC Debtor”) and
foreign representatives of the 3AC Debtor (the “Joint Liquidators of the 3AC Debtor”), filed
the Motion of the Joint Liquidators of Three Arrows Capital, Ltd. (in liquidation) for Leave to
Amend Proof of Claim [D.I. 27755] (the “Motion”) was filed with the United States Bankruptcy
Court for the District of Delaware (the “Court”) under seal, temporarily.

       PLEASE TAKE FURTHER NOTICE Joint Liquidators of the 3AC Debtor hereby file
a redacted version of the Motion, which is attached hereto as Exhibit A, redacting certain
confidential information as set forth in the Sealing Motion of the Joint Liquidators of the Three
Arrows Capital, Ltd. (in Liquidation). [D.I. 27899] filed on November 12, 2024.

                                            [intentionally left blank]




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these chapter 11 cases, a complete list of FTX
    debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of FTX’s claims and noticing agent at
    https://cases.ra.kroll.com/FTX.



US-DOCS\154736726.19
              Case 22-11068-KBO   Doc 27901      Filed 11/12/24   Page 2 of 2




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